         Case 1:25-cv-00246-JLT-CDB           Document 59   Filed 06/26/25     Page 1 of 3


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15                               IN THE UNITED STATES DISTRICT COURT

16                                 EASTERN DISTRICT OF CALIFORNIA

17
18   UNITED FARM WORKERS, et al.,                     No. 1:25-cv-00246-JLT-CDB

19                 Plaintiffs,                        DEFENDANTS’ NOTICE OF APPEAL
                                                      (PRELIMINARY INJUNCTION)
20                         v.

21   KRISTI NOEM, SECRETARY OF
     HOMELAND SECURITY, et al.,                       Hon. Jennifer L. Thurston, United States District
22                                                    Judge
                   Defendants.
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          Case 1:25-cv-00246-JLT-CDB        Document 59      Filed 06/26/25      Page 2 of 3


 1          Please take notice that Defendants Kristi Noem, Secretary, Department of Homeland
 2 Security; Pete R. Flores, Acting Commissioner of U.S. Border Patrol; Michael W. Banks, Chief
 3
   of U.S. Border Patrol; and Gregory K. Bovino, Chief Patrol Agent for El Centro Sector of U.S.
 4
   Border Patrol, in their official capacities, hereby appeal to the United States Court of Appeals for
 5
 6 the Ninth Circuit from the Order entered on April 29, 2025, granting Plaintiffs’ motion for a
 7 preliminary injunction and motion for class certification. See ECF No. 47. This order is an
 8
   appealable interlocutory order of a district court granting an injunction. 28 U.S.C. § 1292(a)(1);
 9
   see Ninth Cir. R. 3-3(a).
10
11          DATED: June 26, 2025                            Respectfully submitted,

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     DEFENDANTS’ NOTICE OF APPEAL
     No. 1:25-cv-00246-JLT-CDB
          Case 1:25-cv-00246-JLT-CDB           Document 59        Filed 06/26/25       Page 3 of 3


1
                                        CERTIFICATE OF SERVICE
2
            On June 26, 2025, I electronically submitted the foregoing document with the Clerk of Court for
3
4 the U.S. District Court, Eastern District of California, using the electronic case filing system of the Court.
5 I hereby certify that I have served counsel and/or pro se parties of record electronically or by another
6 manner authorized by Federal Rule of Civil Procedure 5(b)(2).
7
                                                                 /s/ Olga Y. Kuchins
8                                                                OLGA KUCHINS
                                                                 Trial Attorney
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     No. 1:25-cv-00246-JLT-CDB
